          Case 1:12-cv-00863-FMA Document 11 Filed 12/14/12 Page 1 of 2




       In The United States Court of Federal Claims
                                            No. 12-863C

                                      (Filed: December 14, 2012)
                                              __________
  INSIGHT SYSTEMS CORP.,

                         Plaintiff,

          v.

  THE UNITED STATES,

                         Defendant.
                                             __________

                               SPECIAL PROCEDURES ORDER
                                        __________

       The parties are advised that all references in this order to the Rules of the United States
Court of Federal Claims (RCFC) are local rules of this court, effective July 15, 2011. Therefore,
and pursuant to RCFC 1, 16, and 83(b), as well as Appendix A, it is ordered that each party shall
comply with the following procedures:

(1)     Document Preservation.

       The court hereby orders the parties to take all necessary action to preserve relevant
evidence in this matter. Violation of this provision may lead to the imposition of sanctions under
RCFC 37 and this court=s inherent authority.

(2)     Disclosure of Pending Litigation(s).

        In the preliminary status report required by RCFC Appendix A, ¶ 4, the parties shall
indicate whether any other cases related to this litigation are pending in other jurisdictions. This
information is requested, in part, to determine whether any issues will arise in this case involving
28 U.S.C. § 1500; see also United States v. Tohono O’odham Nation, 131 S. Ct. 1723 (2011).

(3)    Electronic Digital Recording.

         Where electronic digital recording (EDR) is used to record a form of proceeding, the
digital recording is the official electronic sound recording of the proceedings, and all references to
the proceeding shall be to that record (e.g., “Oral Argument of October 29, 2009, Argument of
Ms. Smith at 2:46:13 - 2:46:50”). Absent special circumstances, which should be raised in an
           Case 1:12-cv-00863-FMA Document 11 Filed 12/14/12 Page 2 of 2



appropriate motion, the court will only accept for filing transcripts of trial (or other evidentiary)
proceedings. A party requesting a transcript of a non-evidentiary proceeding will not be
permitted to recover the cost thereof.

 (4)   Communications with the Court.

        Unless invited or otherwise ordered by the court, communications with these chambers
shall be by formal motion or other formal submission, filed with the clerk=s office or in open
court. In particular, letters will not be accepted in lieu of motions without prior authorization.
Notwithstanding this provision, counsel may, at any time, jointly request a conference with the
judge to discuss a dispute or other pending matter. Scheduling needs or questions should be
directed to Sak Im at (202) 357-6492. Questions regarding CFC filing requirements and other
standard court procedures should be directed to the clerk=s office at (202) 357-6406. Questions
regarding the Case Management/Electronic=s Case Filing (CM/ECF) system should be directed to
the CM/ECF help desk at a toll free number at 866-784-6273 or at (202) 357-6402.

 (5)    Professional Conduct.

         At all times during this proceeding, counsels= conduct should be characterized by
 personal courtesy and professional integrity in the fullest sense of those terms. In fulfilling their
 duty to represent their clients vigorously as lawyers, counsel should be mindful of their
 obligations to the administration of justice. Conduct that may be characterized as uncivil,
 abrasive, abusive, hostile or obstructive impedes the fundamental goal of resolving disputes
 rationally, peacefully and efficiently. Such conduct will not be tolerated and may result in
 sanctions being imposed. See, e.g., RCFC 37.

 (6)    Video-Conferencing, Electronic Courtroom and Court Website.

         Both video-conferencing and an electronic courtroom are available at the courthouse in
 Washington, D.C. The court is amenable to the use of these state-of-the-art facilities not only for
 trials with a venue in Washington, D.C., but also for status conferences and oral arguments. The
 scheduling of these facilities should be coordinated with Sak Im at (202) 357-6492. Technical
 questions concerning the court's video-conferencing equipment and the capacities of the
 electronic courtroom should be directed to the clerk's office at (202) 357-6406. Other helpful
 information about the court, including a copy of the court's local rules, may be found at
 www.uscfc.uscourts.gov.

        IT IS SO ORDERED.


                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge




                                                  -2-
